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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                              )
                                              )
NOVENERGIA II – ENERGY &                      )
ENVIRONMENT (SCA),                            )
                                              )
                                              )
                                              )
                    Petitioner,               )
                                              )       Civil Action No. 1:18-cv-1148 (TSC)
                                              )
             v.                               )
                                              )
                                              )
THE KINGDOM OF SPAIN,
                                              )

                    Respondent.

                                              )
                                              )
FORESIGHT LUXEMBOURG SOLAR 1                  )
S.À.R.L., et al.,                             )
                                              )
                                              )
                                              )
                    Petitioners,              )
                                              )       Civil Action No. 1:20-cv-925 (TSC)
                                              )
             v.                               )
                                              )
                                              )
THE KINGDOM OF SPAIN,
                                              )

                    Respondent.


            NOTICE OF WITHDRAWAL OF JAMES E. BERGER,
       CHARLENE C. SUN AND ERIN COLLINS AS PLAINTIFFS’ COUNSEL

       PLEASE TAKE NOTICE THAT James E. Berger, Charlene C. Sun and Erin Collins

have withdrawn as attorneys for Petitioners Foresight Luxembourg Solar 1 S.À.R.L., Foresight
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 Luxembourg Solar 2 S.À.R.L., Greentech Energy Systems A/S (now known as Athena

 Investments A/S), GWM Renewable Energy I S.P.A., and GWM Renewable Energy II S.P.A.

 (collectively, the “Foresight Petitioners”) in Civil Action No. 1:20-cv-925 (TSC).

        The undersigned certifies that Mr. Berger, Ms. Sun and Ms. Collins left the law firm of

 King & Spalding LLP on October 8, 2021 (Mr. Berger and Ms. Sun) and January 3, 2022 (Ms.

 Collins) to join another law firm.

        The Foresight Petitioners will continue to be represented by Thomas C.C. Childs in Civil

 Action No. 1:20-cv-925 (TSC).

Dated: New York, NY
       April 6, 2022


                                           Respectfully submitted,

                                           /s/ Thomas C.C. Childs
                                             _______________________________________________________________________________________________________________________________________________________________________________________________________________________




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